UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


  COMMODITY FUTURES TRADING
  COMMISSION,

                              Plaintiff,             Case No. 21-cv-00870

                       v.

  JOHN PATRICK GORMAN III,

                             Defendant.


             DECLARATION OF SEAN HECKER IN SUPPORT OF
      DEFENDANT JOHN GORMAN’S BRIEF REGARDING DISPUTED ISSUES

I, Sean Hecker, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

       1.     I am a member of the bar of the State of New York and am admitted to appear

before this Court. I am a Partner in the law firm of Hecker Fink LLP and counsel for Defendant

John Gorman in the above-captioned action.

       2.     I respectfully submit this declaration in Support of Defendant John Gorman’s Brief

Regarding Disputed Issues.

       3.     Attached hereto as Exhibit 1 is a true and correct copy of the Enforcement Manual

of the Division of Enforcement of the Commodity Futures Trading Commission dated May 20,

2020, as available at https://www.cftc.gov/LawRegulation/EnforcementManual.pdf.

       4.     Attached hereto as Exhibit 3 is a true and correct copy of CFTC-GORMAN-

00559852.

       5.     Attached hereto as Exhibit 7 is a true and correct copy of CFTC-GORMAN-

00558268.
      6.    Attached hereto as Exhibit 12 is a true and correct copy of CFTC-GORMAN-

00559376.

      7.    Attached hereto as Exhibit 14 is a true and correct copy of CFTC-GORMAN-

00558441.

      8.    Attached hereto as Exhibit 15 is a true and correct copy of CFTC-GORMAN-

00558683.

      9.    Attached hereto as Exhibit 16 is a true and correct copy of CFTC-GORMAN-

00558602–CFTC-GORMAN-00558603.

      10.   Attached hereto as Exhibit 17 is a true and correct copy of CFTC-GORMAN-

00559606.

      11.   Attached hereto as Exhibit 18 is a true and correct copy of CFTC-GORMAN-

00558693.

      12.   Attached hereto as Exhibit 19 is a true and correct copy of CFTC-GORMAN-

00559106.

      13.   Attached hereto as Exhibit 20 is a true and correct copy of CFTC-GORMAN-

00559095.

      14.   Attached hereto as Exhibit 21 is a true and correct copy of CFTC-GORMAN-

00559111.

      15.   Attached hereto as Exhibit 22 is a true and correct copy of CFTC-GORMAN-

00558633.

      16.   Attached hereto as Exhibit 23 is a true and correct copy of CFTC-GORMAN-

00559289.




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      17.   Attached hereto as Exhibit 24 is a true and correct copy of CFTC-GORMAN-

00558666.

      18.   Attached hereto as Exhibit 25 is a true and correct copy of CFTC-GORMAN-

00559622.

      19.   Attached hereto as Exhibit 26 is a true and correct copy of CFTC-GORMAN-

00558697–CFTC-GORMAN-00558698.

      20.   Attached hereto as Exhibit 27 is a true and correct copy of CFTC-GORMAN-

00559547–CFTC-GORMAN-00559548.

      21.   Attached hereto as Exhibit 28 is a true and correct copy of CFTC-GORMAN-

00559102.

      22.   Attached hereto as Exhibit 29 is a true and correct copy of CFTC-GORMAN-

00559068.

      23.   Attached hereto as Exhibit 30 is a true and correct copy of CFTC-GORMAN-

00559626.

      24.   Attached hereto as Exhibit 31 is a true and correct copy of CFTC-GORMAN-

00558631.

      25.   Attached hereto as Exhibit 32 is a true and correct copy of CFTC-GORMAN-

00559615.

      26.   Attached hereto as Exhibit 33 is a true and correct copy of CFTC-GORMAN-

00558660.

      27.   Attached hereto as Exhibit 34 is a true and correct copy of CFTC-GORMAN-

00558625.




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       28.    Attached hereto as Exhibit 35 is a true and correct copy of CFTC-GORMAN-

00558741.

       29.    Attached hereto as Exhibit 36 is a true and correct copy of CFTC-GORMAN-

00559370.

       30.    Attached hereto as Exhibit 37 is a true and correct copy of CFTC-GORMAN-

00559341.

       31.    Attached hereto as Exhibit 38 is a true and correct copy of CFTC-GORMAN-

00559335.

       32.    Attached hereto as Exhibit 39 is a true and correct copy of CFTC-GORMAN-

00558668.

       33.    Attached hereto as Exhibit 40 is a true and correct copy of CFTC-GORMAN-

00558638.

       34.    Attached hereto as Exhibit 41 is a true and correct copy of CFTC-GORMAN-

00558627.

       35.    Attached hereto as Exhibit 42 is a true and correct copy of an email exchange

between K. Epstein and D. Cain et al. dated November 14, 2024 to November 21, 2024.

       36.    Attached hereto as Exhibit 43 is a true and correct copy of CFTC-GORMAN-

00459787.

       37.    Attached hereto as Exhibit 44 is a true and correct copy of CFTC-GORMAN-

00458460–CFTC-GORMAN-00458461.

       38.    Attached hereto as Exhibit 45 is a true and correct copy of CFTC-GORMAN-

00461310.




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        39.    Attached hereto as Exhibit 46 is a true and correct copy of CFTC-GORMAN-

00458903.

        40.    Attached hereto as Exhibit 47 is a true and correct copy of CFTC-GORMAN-

00459836.

        41.    Attached hereto as Exhibit 48 is a true and correct copy of CFTC-GORMAN-

00458885.

        42.    Attached hereto as Exhibit 51 is a true and correct copy of CFTC-GORMAN-

00558734.

        43.    Attached hereto as Exhibit 53 is a true and correct copy of CFTC-GORMAN-

00559032.

        44.    Attached hereto as Exhibit 54 is a true and correct copy of an email from A. Cohen

to S. Kelly et al. dated October 18, 2024.

        45.    Attached hereto as Exhibit 55 is a true and correct copy of an email exchange

between Plaintiff's counsel and Defendant's counsel dated November 12, 2024 to November 19,

2024.

        46.    Attached hereto as Exhibit 56 is a true and correct copy of a letter from D. Cain to

S. Hecker dated November 21, 2024.

        47.    Attached hereto as Exhibit 57 is a true and correct copy of Defendant John

Gorman's Third Set of Requests for the Production of Documents dated September 6, 2024.

        48.    Attached hereto as Exhibit 63 is a true and correct copy of Defendant John

Gorman's First Set of Requests for the Production of Documents dated June 1, 2023.

        49.    Attached hereto as Exhibit 64 is a true and correct copy of a letter from D. Cain to

S. Hecker dated November 13, 2024.




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      50.   Attached hereto as Exhibit 65 is a true and correct copy of CFTC-GORMAN-

00559867–CFTC-GORMAN-00559873.

      51.   Attached hereto as Exhibit 66 is a true and correct copy of CFTC-GORMAN-

00559804.




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Dated: November 22, 2024                    By:
       New York, New York                         Sean Hecker




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